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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 FRED HUSTON-DARNELL CHANDLER,

        Plaintiff,
                                                    Case No. 1:18-cv-1289
 v.
                                                    HONORABLE PAUL L. MALONEY
 STATE OF MICHIGAN, et al.,

        Defendants.
 ____________________________/


               ORDER ADOPTING REPORT AND RECOMMENDATION

       This is a civil rights action filed pursuant to 42 U.S.C. § 1983. On January 8, 2019, the

Magistrate Judge issued a Report and Recommendation, recommending that the action be

dismissed upon initial screening pursuant to 28 U.S.C. § 1915€(2).            The Report and

Recommendation was duly served on the parties. No objections have been filed. See 28 U.S.C.

§ 636(b)(1). Therefore,

       IT IS HEREBY ORDERED that the Report and Recommendation (ECF. No. 6) is

APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that the Complaint is DISMISSED for the reasons stated

in the Report and Recommendation.

       IT IS FURTHER ORDERED that this Court certifies pursuant to 28 U.S.C. § 1915(a)(3)

that an appeal of this decision would not be taken in good faith. See McGore v. Wrigglesworth,

114 F.3d 601, 610-11 (6th Cir. 1997), overruled on other grounds by Jones v. Bock, 549 U.S. 199,

206, 211-12 (2007).
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      A Judgment will be entered consistent with this Order.



Dated: February 5, 2019                                  /s/ Paul L. Maloney
                                                         Paul L. Maloney
                                                         United States District Judge




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